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               Exhibit 50
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                   UNITED STATES DISTRICT COURT FOR THE
                       NORTHERN DISTRICT OF GEORGIA
                           GAINESVILLE DIVISION
            -------------------------------X
            FAIR FIGHT, INC., SCOTT BERSON,)
            JOCELYN HEREDIA, and JANE DOE, )
                        Plaintiffs,        )
                                           )
                    vs.                    )Case No.
                                           )2:20-cv-00302-SCJ
            TRUE THE VOTE, CATHERINE       )
            ENGELBRECHT, DEREK SOMERVILLE, )
            MARK DAVIS, MARK WILLIAMS,     )
            RON JOHNSON, JAMES COOPER, and )
            JOHN DOES 1-10.                )
                        Defendants.        )
                                           )
            FAIR FIGHT ACTION, INC.,       )
                        Counter-Defendant. )
            -------------------------------X
                CONFIDENTIAL - PURSUANT TO PROTECTIVE ORDER
                     30(b)(6) VIDEOTAPED DEPOSITION OF
                          CATHERINE ENGELBRECHT
                           APPEARING REMOTELY
                       Wednesday, January 26, 2022
                          8:05 a.m. Central Time

            Reported by:  Lori J. Goodin, RPR, CLR, CRR
                          RSA, California CSR #13959
            __________________________________________________
                             DIGITAL EVIDENCE GROUP
                         1730 M Street, NW, Suite 812
                            Washington, D.C. 20036
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   1                           REMOTE APPEARANCES
   2
   3        FOR PLAINTIFFS:
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               MARCOS MOCINE-MCQUEEN, ESQUIRE
   5           JACOB SHELLY, ESQUIRE
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   2

   3        FOR DEFENDANTS:

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   6           MELENA SIEBERT, ESQUIRE

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   9           812-232-2434

 10            jboppjr@aol.com

 11            msiebert@bopplaw.com

 12

 13         Also present:

 14            Joe Cerda, video/document technician

 15

 16

 17

 18

 19

 20

 21

 22



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 12                            RSA, California CSR #13959

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 18                            electronically to the reporter.)

 19

 20

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   1                WEDNESDAY, JANUARY 26, 2022, 8:05 A.M.

   2

   3                                        PROCEEDINGS

   4                           THE VIDEOGRAPHER:                        We are now

   5             beginning this video deposition.                                 Today's

   6             date is January 26, 2022.                            The time on the

   7             video record is 8:05 a.m.

   8                           This is the deposition of Catherine

   9             Engelbrecht, taken in the matter of Fair

 10              Fight, Inc. versus True the Vote.

 11                            Will counsel please identify

 12              themselves for the record and whom they

 13              represent.

 14                            MR. NKWONTA:                  Good morning.               My name

 15              is Uzoma Nkwonta, and I represent the

 16              plaintiffs in this case.                           I am joined with

 17              co-counsel.            I will let them represent

 18              themselves -- or introduce themselves, I

 19              should say, I'm sorry.

 20                            MS. BRYAN:                Good morning.               This is

 21              Leslie Bryan from Lawrence and Bundy.                                     I

 22              represent the plaintiffs.



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                                                                                                  Page 9
   1                           MS. LINDENBAUM:                      Good morning.              This

   2             is Dara Lindenbaum from Sandler Reiff Lamb

   3             Rosenstein & Birkenstock, also representing

   4             the plaintiffs.

   5                           MR. SHELLY:                 Jacob Shelly with Elias

   6             Law Group with plaintiffs.

   7                           MR. RAMIREZ:                  Joel Ramirez with

   8             Elias Law Group with plaintiffs.

   9                           MR. MOCINE-MCQUEEN:                          Marcos

 10              Mocine-McQueen, Elias Law Group with the

 11              plaintiffs.

 12                            THE VIDEOGRAPHER:                        Okay.      Counsel,

 13              and before we swear in the witness, do all

 14              parties agree or stipulate to the witness

 15              being sworn in remotely through Zoom?

 16                            MR. NKWONTA:                  Yes, plaintiffs agree.

 17                            MR. BOPP:               And I don't think I

 18              entered my appearance.                        I am James Bopp,

 19              representing the defendants and both -- and

 20              representing both deponents in this action --

 21              in this matter here today.

 22                            And, Melena Siebert will probably be



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                                                                                                Page 10
   1             joining us later, who is also counsel for the

   2             defendants.            And we consent to remote

   3             deposition.

   4                           THE VIDEOGRAPHER:                        Okay, counsel.

   5             With that being said, we will swear in the

   6             witness, thanks.

   7                                            *      *     *

   8        Whereupon,

   9                             CATHERINE ENGELBRECHT,

 10         a witness called for examination, having been

 11         first duly sworn, was examined and testified as

 12         follows:

 13                                             *      *     *

 14                                         EXAMINATION

 15         BY MR. NKWONTA:

 16                   Q.       Morning, Ms. Engelbrecht.

 17                   A.       Good morning.

 18                   Q.       My name is Uzoma Nkwonta.                             As I

 19         mentioned before, I represent the plaintiffs in

 20         this case.

 21                            And, my understanding is that you

 22         are appearing today in your personal capacity and



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                                                                                                Page 69
   1        We had an election integrity hotline, and it

   2        didn't have a name so to speak.                               So we named it

   3        Validate the Vote.

   4                           And then when the attentions turned

   5        towards Georgia, as I recall, we would say

   6        Validate the Vote Georgia, but it was still a

   7        national effort.

   8                           Does that answer your question?

   9                  Q.       Yes, it does.                   You have used the

 10         word, bounty on fraud, before, correct?                                    In

 11         discussing the Validate the Vote program?

 12                   A.       I don't -- I have read through this

 13         in the preparation for this.                            I don't recall

 14         saying that but -- I don't recall saying that,

 15         but -- well, I will leave it at that.                                  I don't

 16         recall saying it.

 17                            MR. NKWONTA:                  Joe, can you pull up

 18              Exhibit 64, please.                     And if we can go to

 19              Page 3 of Exhibit 64.

 20                                     (Exhibit 64 marked for

 21                                       identification.)

 22         BY MR. NKWONTA:



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                                                                                                Page 92
   1                  A.       I would have to -- I can't confirm

   2        that.     I would have to -- I can't confirm that.

   3        It should have just been a, you know, dump out to

   4        fulfill the requirement, but I can't confirm it.

   5                           MR. NKWONTA:                  Let's see if we can

   6             blow up a document.                     That might help.

   7                           Can we pull up Exhibit 79?

   8                                    (Exhibit 79 marked for

   9                                      identification.)

 10                            MR. NKWONTA:                  And can you enlarge

 11              that a little bit and scroll to Page 8.

 12         BY MR. NKWONTA:

 13                   Q.       Ms. Engelbrecht, Exhibit 79 is the

 14         Second Amended Response -- True the Vote's Second

 15         Amended Response to Plaintiff's Second Request

 16         for Production.

 17                            Do you recognize this document?

 18                   A.       Yes.

 19                   Q.       Now, if you look at the Request

 20         Number 18, Request Number 18 seeks, "All

 21         documents and communications relating to True the

 22         Vote's Election Integrity Hotline as described in



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                                                                                                Page 93
   1        your responses to Interrogatories 2 and 3,

   2        including, but not limited to, all documents and

   3        communications surrounding the launch of the

   4        hotline, follow-up with users of the hotline,

   5        vetted reports, and follow-up with the

   6        authorities charged with investigating such

   7        claims as described in your response to

   8        Interrogatory Number 3."

   9                           Is that a correct reading of Request

 10         Number 18?

 11                   A.       That is a correct reading, yes.

 12                   Q.       And in your response you state that,

 13         "The defendant True the Vote has produced the

 14         record of all hotline contacts relevant to

 15         Georgia during the time frame of the runoff

 16         election."         Is that correct?

 17                   A.       Yes.         And that would be relevant to

 18         Georgia at the time of the runoff collection --

 19         runoff election, yes.

 20                   Q.       You also state that, in the second

 21         paragraph, "None of these contacts resulted in

 22         the need for True the Vote to follow up or report



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                                                                                                Page 94
   1        the contact information to appropriate

   2        authorities."

   3                           Is that correct?

   4                           THE WITNESS:                  Can we -- I apologize.

   5             Could we just scroll down so I can see that

   6             in the response?

   7                           MR. NKWONTA:                  Keep scrolling.

   8                           THE WITNESS:                  I can go -- yes.

   9                           MR. NKWONTA:                  The next page.

 10                            THE WITNESS:                  The next page.

 11                            MR. NKWONTA:                  And then the paragraph

 12              starting with None of these concepts.

 13                            Can you scroll down a little bit

 14              more, Joe?

 15                            THE WITNESS:                  Yes.         Yes.

 16         BY MR. NKWONTA:

 17                   Q.       Is it accurate that none of the

 18         reports to your election integrity hotline or

 19         Validate the Vote hotline resulted in the need

 20         for True the Vote to report anything to

 21         authorities?

 22                   A.       Specific to this request for



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                                                                                                Page 95
   1        production around the Georgia runoff and the

   2        exhibit that we have looked at, that would be the

   3        case, yes.

   4                           MR. NKWONTA:                  You can pull that

   5             down, Joe.          I would like to ask about some of

   6             your other election related efforts.

   7                           If we could pull up Exhibit 61.                                  And

   8             can we scroll to the next page.

   9                                    (Exhibit 61 marked for

 10                                       identification.)

 11         BY MR. NKWONTA:

 12                   Q.       Do you recognize this document,

 13         Ms. Engelbrecht?

 14                   A.       Yes.

 15                   Q.       What is it?

 16                   A.       This was, based on its formatting,

 17         this would have been taken from our website.                                        And

 18         it just describes that we launched the Election

 19         Integrity Hotline specific to the runoff period.

 20                   Q.       And this is a press release issued

 21         by True the Vote, correct?

 22                   A.       Yes.         Or a blog post, but yes.



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   1        conversation exchange with Ryan Germany, where I

   2        wanted to understand if this was a burden on

   3        counties and what that would look like and the

   4        timing, because they were beginning to prepare

   5        to -- for the early opening of absentee ballot

   6        applications.

   7                           And Mr. Germany saying that it would

   8        be a very simple process, that counties could

   9        forward on the spreadsheet to the state.                                     The

 10         state would forward it to their vendor.                                    And it

 11         would be flagged as I have described in previous

 12         comments.

 13                            So, the, the -- our understanding,

 14         my understanding leaving that meeting was

 15         following the process would be a, a smooth way to

 16         support these electors who had, you know, come to

 17         us with concern, out of concern for the fact that

 18         the rolls weren't being maintained.

 19                   Q.       You mentioned you were concerned

 20         about the size of the challenges and how large it

 21         was.    Why were you concerned about the size of

 22         the challenges?



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                                                                                               Page 231
   1        BY MR. NKWONTA:

   2                  Q.       Do you want to take a minute just to

   3        read that e-mail?

   4                  A.       Okay.

   5                  Q.       How many challengers did the True

   6        the Vote reach out to?

   7                           How many potential challengers did

   8        True the Vote reach out to in order to seek

   9        assistance in submitting these challenges?

 10                   A.       I don't know.

 11                   Q.       Did True the Vote try to recruit

 12         challengers in all Georgia counties?

 13                   A.       We were open to that for sure and

 14         prepared the analysis to support that.

 15                            But as far as the individuals and

 16         the voters who wanted to participate that was --

 17         you know, as much as people coming to us as it

 18         was people being referred that were also coming

 19         to us, so --

 20                   Q.       So this e-mail that went to

 21         potential challengers stated that True the Vote

 22         has identified over 500,000 people on the Georgia



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                                                                                               Page 232
   1        voter list that shouldn't be there.

   2                           Is that correct that True the Vote

   3        identified over 500,000 people in the Georgia

   4        voter lists?

   5                  A.       They are in -- yeah, there are a

   6        number of things in this e-mail that are not

   7        correct which is what is giving me pause, so --

   8                  Q.       Okay.          So, we will start first with

   9        that 500,000 figure.                  Is that correct?

 10                   A.       Sure.          Um, that is not the number

 11         that we had for our challenges, no.

 12                   Q.       And states that the 500,000 people

 13         should not be on the challenge list.

 14                            Is it True the Vote's position that

 15         all individuals on those challenges should not be

 16         registered in Georgia or should not be on the

 17         voter list?

 18                   A.       It was and is our position that

 19         according to the analysis that we provided, or

 20         that we supported, records corresponded with

 21         individual decisions to permanently change their

 22         residence.



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   1                           And therefore it would have made

   2        their record ineligible and appropriate in the

   3        scope of an elector challenge.

   4                           That sentence is -- doesn't indicate

   5        those nuances that I think are critical.

   6                  Q.       At that point had True the Vote

   7        concluded that these voters should not be on the

   8        voter rolls or that they were not legally

   9        registered?

 10                   A.       Well, again on the basis of our

 11         analysis, the, all that is and should have been

 12         done was the recognition of the information that

 13         was available and the provision of that to the

 14         counties.

 15                            This is, you know -- this e-mail is,

 16         doesn't clearly make those distinctions known or

 17         understood.

 18                   Q.       The e-mail also, I think the fourth

 19         paragraph down asked the voter to take a photo of

 20         and scan your signature and e-mail it with their

 21         voter registration information.

 22                            But it doesn't offer the voter an



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                                                                                                 Page 234
   1        opportunity to review the list, does it?

   2                  A.        This e-mail does not offer that, no.

   3                  Q.        At the third paragraph from the

   4        bottom, in the last sentence of that paragraph,

   5        it says, "True the Vote has assured me that the

   6        list that they are challenging is 99.9 percent

   7        likely to be incorrectly registered."

   8                            Do you have any way of knowing

   9        whether 99.9 percent of your challenge list is

 10         incorrectly registered?

 11                   A.       No.        And my data background would

 12         never make that kind of statement.                                    And the

 13         statement itself is odd in the way the sentence

 14         is written, "True the Vote has assured me that

 15         the list."

 16                            It seems odd that Amy would have

 17         written that because Amy was part of the True the

 18         Vote team.         That is a distinction that you

 19         probably didn't -- well, you didn't ask for, no.

 20                            But specific to your inquiry about

 21         the 99.9, this data is -- data is data.                                      You

 22         shouldn't make assertions like that.



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                                                                                               Page 235
   1                  Q.       And regardless of who wrote it, you

   2        don't dispute that Amy sent it, right?

   3                  A.       I, according to what I'm looking at

   4        on the screen, the markings are there to support

   5        it.

   6                           It just does not --

   7                  Q.       If Amy testified that she sent it,

   8        would you have any reason to --

   9                  A.       No, if Amy testified that she sent

 10         it, if she said she sent it, then she sent it.

 11                   Q.       And if this document was produced by

 12         defendants, would you have any reason to doubt

 13         that this was sent by defendants?

 14                   A.       I mean if they said they did this,

 15         then they did this.

 16                            MR. NKWONTA:                  Can we go to Page 16

 17               of Exhibit 36.              And can you scroll a little

 18               bit so we get that full e-mail below from

 19               James Cooper.

 20                            THE VIDEOGRAPHER:                        Sorry, guys.            It

 21               is just -- stand by.

 22                            MR. NKWONTA:                  Okay.



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                                                                                               Page 236
   1                           THE VIDEOGRAPHER:                        And then you said

   2             Page 16 of 36?

   3                           MR. NKWONTA:                  Yes, Page 16.

   4                           THE VIDEOGRAPHER:                        Roger that.

   5        BY MR. NKWONTA:

   6                  Q.       And then you see that the e-mail

   7        from James Cooper is also on -- in Exhibit 36,

   8        and also includes similar language?

   9                  A.       Yes.

 10                   Q.       And if you look at the second

 11         paragraph, second to the last sentence, there is

 12         an additional sentence there that says, "If this

 13         very type action" -- I think there is a typo.                                         I

 14         will start again.

 15                            "If this very type action had been

 16         taken back in October, it is very likely Trump

 17         would have won Georgia."                       Do you see that there?

 18                   A.       I do.

 19                   Q.       At the very top, do you see the

 20         response from the voter to James Cooper that

 21         says, "True the Vote has my permission to use my

 22         signature to challenge the illegal votes in Cobb



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                                                                                               Page 237
   1        County."

   2                           Is that right?

   3                  A.       That is what it says, yes.

   4                  Q.       You mentioned that the challenges

   5        were not technically meant to remove voters from

   6        the voter rolls.

   7                           But isn't it true that some voters

   8        got that impression from the communications that

   9        were issued to these voters?

 10                            MS. SIEBERT:                  Objection.            You are

 11              asking her to testify about other people's

 12              state of mind.

 13                            Catherine, go ahead.

 14                            THE WITNESS:                  I mean, this is what

 15              James Cooper wrote.                     It is really all I can

 16              say.      It is what somebody else wrote.

 17                            MR. NKWONTA:                  Could we pull up

 18              Exhibit 39, please.

 19                                     (Exhibit 39 marked for

 20                                       identification.)

 21         BY MR. NKWONTA:

 22                   Q.       Exhibit 39 is a little bit clearer.



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                                                                                               Page 238
   1        And you will see at the top of Exhibit 39, James

   2        Cooper forwards the e-mail chain below to a

   3        number of individuals, including yourself.

   4                           And you can see that the body of the

   5        e-mail below that he forwarded is similar; is

   6        that right?

   7                  A.       Yes.

   8                  Q.       And in response to James Cooper's

   9        e-mail, the perspective challenger responds,

 10         "James, Here is my," it is redacted.                                  I'm

 11         assuming it is a registration number.

 12                            "I give True the Vote permission to

 13         use my name and signature in the pursuit of

 14         purging the rolls of the deceased, nonexistent

 15         and nonresidents of my county."

 16                            Is that a correct reading of the

 17         proposed challenger's response?

 18                            THE WITNESS:                  Can you scroll up a

 19              little bit, Joe?                 Or down.              Sorry.       Yes.

 20                            So, that is what you just read and

 21              that is what the document says, yes.

 22         BY MR. NKWONTA:



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                                                                                                 Page 245
   1        the, what the data shows.

   2                           So, I knew that that had occurred.

   3                  Q.       Do you know when this analysis was

   4        first conducted?

   5                  A.       The analysis on this exhibit?                                   Or --

   6                  Q.       The analysis of the demographic

   7        breakdown of the challenge list.

   8                  A.       I don't know exactly.                              It came later

   9        as a form of reputation of the assertion that

 10         there was -- that that was part of this.

 11                            But, I don't know the date, no.

 12                   Q.       True the Vote announced its

 13         challenge program on December 18th, 2020; is that

 14         correct?

 15                   A.       I don't recall exactly.                             It would

 16         have been around then, yes.

 17                   Q.       And if I told you the date was --

 18         the date that had been provided by defendants was

 19         December 18th, would you have any reason to

 20         dispute that?

 21                   A.       No real reason to dispute it, no.

 22                   Q.       And if you look at this file here,



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                                                                                               Page 246
   1        it says create date, 12/16/2020.

   2                           Is that what you see there on OPSEC

   3        Number 9?

   4                  A.       Uh-huh, I do see that.

   5                           MR. NKWONTA:                  And if we scroll down

   6             to the chart, I just want to make sure that

   7             you have a chance to look at the charts in

   8             here.

   9                           If you scroll to Page 18 of this

 10              PDF, for instance.

 11         BY MR. NKWONTA:

 12                   Q.       Have you seen this chart before?

 13                   A.       I don't think that I have, no.

 14                   Q.       Do you know why OPSEC would have

 15         created this chart?

 16                   A.       I knew that there were, in the

 17         TrueNCOA, they have an extension that is part of

 18         their platform called TrueAppend that

 19         automatically prints these out.

 20                            So, I read about this in the

 21         exhibits.

 22                            MR. NKWONTA:                  Could we go to Page 8.



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                                                                                                Page 254
   1                  A.         We ended up with electors that

   2        wanted to challenge, totaling 65 total counties.

   3        And, so submissions were made in those counties

   4        on behalf of those electors.

   5                  Q.         And why didn't True the Vote file

   6        challenges in all 159 counties as it stated in

   7        the press release?

   8                             THE WITNESS:                 Guys, I just got a

   9             password required notice.                             Can you all see

 10              that on the screen or is it just me?

 11                             THE VIDEOGRAPHER:                        Sorry, Catherine.

 12              This is Joe.              That might be on your end.                            I'm

 13              not sure what it is relating to.

 14                             THE WITNESS:                  It is, it is.               I

 15              apologize.           I just Xed out of it and it is

 16              gone.         I apologize.

 17                             THE VIDEOGRAPHER:                        Okay.

 18                             THE WITNESS:                  I'm sorry, could you

 19              repeat the question?

 20         BY MR. NKWONTA:

 21                   Q.        Sure.

 22                             MR. NKWONTA:                  Can the court reporter



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                                                                                               Page 255
   1             read back the question, please.

   2                           (Whereupon, the record was read by

   3             the reporter as requested.)

   4                           THE WITNESS:                  Again, I think the

   5             press release was meant to acknowledge that

   6             we had done the analysis to support that.

   7             The reason that we didn't ultimately is

   8             because it wasn't for us to do.

   9                           It was for electors in the, in their

 10              respective counties.                      And that is just the

 11              way the process works.

 12         BY MR. NKWONTA:

 13                   Q.       But True the Vote said it was going

 14         to do this in the press release, in the very

 15         first line, right?

 16                   A.       Yeah.          Again, I think that the

 17         intent of the line was to suggest that we -- that

 18         True the Vote was prepared to do that and do that

 19         in every county.

 20                            But, you know, we go quickly into

 21         the description of an elector challenge.                                     And it

 22         is, you know, the qualifications therein, so that



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